                            UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA




                                                )
                                                )
                Plaintiff(s),                   )
                                                )        Case No.:
vs.                                             )
                                                )
                                                )
               Defendant(s).                    )


            DISCLOSURE OF CORPORATE, AFFILIATIONS AND OTHER
          ENTITIES WITH A DIRECT FINANCIAL INTEREST IN LITIGATION

     PLEASE COMPLETE ONLY ONE FORM FOR EACH NON-GOVERNMENTAL
CORPORATE PARTY. COUNSEL HAVE A CONTINUING DUTY TO UPDATE THIS
INFORMATION. PLEASE FILE AN ORIGINAL AND ONE COPY OF THIS FORM. PLAINTIFF
OR MOVING PARTY MUST SERVE THIS FORM ON THE DEFENDANT(S) OR
RESPONDENT(S) WHEN INITIAL SERVICE IS MADE.

! " #
_________________________           $ "% "
                          who is ____________________________________,
      (Name of Party)              (Plaintiff/moving party or defendant)

makes the following disclosure:

1.     Is party a publicly held corporation or other publicly held entity?

               ( ) Yes                          ( ) No

2.     Does party have any parent corporations?

               ( ) Yes                          ( ) No

       If yes, identify all parent corporations, including grandparent and great-grandparent
       corporations:_____________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________




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3.   Is 10% or more of the stock of a party owned by a publicly held corporation or other publicly held
     entity?

              ( ) Yes                           ( ) No

      If yes, identify all such owners: ______________________________________________
      ________________________________________________________________________
      ________________________________________________________________________

4.    Is there any other publicly held corporation or other publicly held entity that has a direct financial
      interest in the outcome of the litigation?

              ( ) Yes                           ( ) No

      If yes, identify entity and nature of interest: _____________________________________
      ________________________________________________________________________
      ________________________________________________________________________



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___________________________________                                  ___________________________
      (Signature)                                                          (Date)




MDNC (01/03)




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